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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

 

TRUSTEES OF INTERNATIONAL UNION

OF PAINTERS AND ALLIED TRADES

DISTRICT COUNCIL 711 HEALTH &

WELFARE FUND; TRUSTEES OF !
INTERNATIONAL UNION OF PAINTERS _ ; Civil Action No.:
AND ALLIED TRADES DISTRICT

COUNCIL 711 VACATION FUND;

TRUSTEES OF PAINTERS DISTRICT

COUNCIL 711 FINISHING TRADES

INSTITUTE; INTERNATIONAL UNION OF

PAINTERS AND ALLIED TRADES '

DISTRICT COUNCIL 711 HEALTH & COMPLAINT
WELFARE FUND; INTERNATIONAL

UNION OF PAINTERS AND ALLIED

TRADES DISTRICT COUNCIL 711

VACATION FUND; PAINTERS DISTRICT

COUNCIL 711 FINISHING TRADES

INSTITUTE; AND INTERNATIONAL

UNION OF PAINTERS AND ALLIED

TRADES DISTRICT COUNCIL 711,

Plaintiffs, |
¥. :

SNOW GLASS & MIRROR CO.; a/k/a J, AND ;
J. GLASS CORP.; a/k/a SNOW’S GLASSES:
AND ALUMINUM CO.; :
Defendant, '

 
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Plaintiffs, by and through undersigned counsel, state as follows:
JURISDICTION AND VENUE

1. The jurisdiction of this Court is invoked pursuant to Sections
502(e)(1) and (f) and 515 of the Employee Retirement Income Security Act of
1974 (“ERISA”), 29 U.S.C. §1132(e)(1) and (f) and §1145 respectively, and §301
of the Labor Management Relations Act (““LMRA”), and 29 U.S.C. §185; and 28
U.S.C. §1331.

2. This Court is one of proper venue pursuant to Section 502(e)(2) of
ERISA, 29 U.S.C. §1132(e)(2), and Section 301 of the LMRA, 29 U.S.C. §185
because the Trust Funds are administered in the State of New Jersey, the breach
took place in New Jersey, and Defendant maintained or maintains a principal place
of business in the State of New Jersey.

3. Acopy of this Complaint is being served on the Secretary of Labor and
the Secretary of the Treasury of the United States by certified mail in accordance
with 29 U.S.C. §1132(h).

PARTIES

4, Plaintiffs, Trustees of International Union of Painters and Allied Trades
District Council 711 Health & Welfare Fund (“Health Fund”) are the employer and
employee trustees of a labor-management trust fund organized and operated pursuant

to a Trust Agreement and Collective Bargaining Agreement(s) (“CBA”) in

 
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accordance with Section 302(c)(5) of LMRA, 29 U.S.C. §186(c)(5). The Health
Fund is an employee benefit plan within the meaning of Section 3(3) of ERISA, 29
U.S.C, §1002(3), and a multiemployer plan within the meaning of section 3(37) of
ERISA 29 U.S.C, §1002(37).

5. Plaintiffs, Trustees of International Union of Painters and Allied Trades
District Council 711 Vacation Fund (“Vacation Fund”) are the employer and
employee trustees of a labor-management trust fund organized and operated pursuant
to a Trust Agreement and CBA(s) in accordance with section 302(c)(5) of LMRA, 29
U.S.C. §186(c)(5). The Vacation Fund is an employee benefit plan within the
meaning of section 3 (3) of ERISA, 29 U.S.C. §1002(3), and a multiemployer plan
within the meaning of section 3 (37) of ERISA 29 U.S.C. §1002(37).

6. Plaintiffs, Trustees of Painters District Council 711 Finishing Trades
Institute (““FTT’) are the employer and employee trustees of a labor-management trust
fund organized and operated pursuant to a Trust Agreement and CBA(s) in
accordance with section 302 (c)(5) of LMRA, 29 U.S.C, §186(c)(5). The FTT is an
employee benefit plan within the meaning of Section 3 (3) of ERISA, 29 U.S.C.
§1002(3), and a multiemployer plan within the meaning of Section 3 (37) of
ERISA 29 U.S.C. §1002(37).

7, Plaintiffs, International Union of Painters and Allied Trades District

Council 711 Health & Welfare Fund, International Union of Painters and Allied

 
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Trades District Council 711 Vacation Fund; and Painters District Council 711
Finishing Trades Institute (collectively “Funds”) maintain their principal place of
business at 27 Roland Ave, Suite 200, Mt. Laurel, New Jersey 08054.

8. The Funds are also the collecting agent for the Labor Management
Cooperation Initiative (“LMCI”), National Finishing Trades Institute of New
Jersey (“N-FTT’), Industry Advancement Fund (“IAF”), the Political Action
Committee (“PAC”), Safety Training Recognition Awards Program (“Stars”), the
Job Targeting Program (“Job Targeting”), and Political Action Together (“PAT”).

9, | The Funds are authorized to sue in their own names pursuant to
Section 502(d)(1) of ERISA, 29 U.S.C. §1132(d)(1).

10. The Trustees of the Funds are fiduciaries within the meaning of
Section 3(21) of ERISA, 29 U.S.C. §1002(21)(A).

11. The Funds bring this action on behalf of their Trustees, committee
members, participants and beneficiaries pursuant to Section 502 of ERISA, 29
U.S.C. §1132, and Section 301 of LMRA, 29 U.S.C. §185.

12. Plaintiff International Union of Painters and Allied Trades District
Council 711 (the “Union’’) brings this action for dues check-offs and other
contributions owed pursuant to the CBA(s).

13. The Union is a labor organization within the meaning of Section 301

of the LMRA, 29 U.S.C. § 185, and Section 3(4) of ERISA, 29 U.S.C. § 1002(4),
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and represents employees in an industry affecting commerce.

14. The Union maintains it principal place of business at 9 Fadem Road,
Springfield, New Jersey 07081.

15. Defendant, Snow Glass & Mirror Co.; a/k/a J. and J. Glass Corp.;
a/k/a Snow’s Glasses and Aluminum Co. (“Snow Glass”), is referred to as
"Defendant" or "Employer" and "Party in Interest" as defined in Sections 3(5) and
3(14) of ERISA, 29 U.S.C. §1002(5) and (14) respectively, and was or is an
employer in an industry affecting commerce within the meaning of Section 301 of
LMRA, 29 U.S.C. §185.

16. Upon information and belief, Defendant Snow Glass maintained or
maintains its principal place of business at 130-132 East Blackwell Street, Dover,
New Jersey 07801.

17. Defendant Snow Glass conducted or conducts business in the State of
New Jersey.

COUNT ONE
Failure to Remit Contributions
18. The Funds incorporate the allegations in Paragraphs | through 17 of this

Complaint as if set forth herein in their entirety.
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19, Atall relevant times, Defendant Snow Glass was party to or agreed to
abide by the terms and conditions of a CBA(s) with the Union or one or more local
labor unions or district councils affiliated with the Union.

20. The CBA provides that Defendant Snow Glass must make specified
fringe benefit contributions to the Funds, and remit administrative dues as required
by the CBA for Defendant Snow Glass represented employees.

21. The foregoing CBA was executed by Defendant Snow Glass.

22. Despite its contractual obligation, and though it reaped the benefit of
the labor provided by their employees, Defendant Snow Glass failed to remit the
required contributions to the Funds for the benefit of its employees.

23. Defendant Snow Glass failed to remit or has only remitted a portion of
the required contributions to the Funds for the benefit of its employees including, but
not limited to, the period of January 1, 2014 through March 31, 2019.

24. Payment of the delinquent contributions and penalties assessed against
Defendant Snow Glass has been demanded by the Funds, but Defendant Snow Glass
has refused to submit the required payments.

25. Such delinquencies constitute prohibited transactions under 29 U.S.C,
§1106(a)(1){B).

26. Failure to pay the delinquencies enumerated in the CBA is violative of

29 U.S.C. §1145.

 
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27. This action is brought by the fiduciaries of the Funds pursuant to Section
502(g)(2), 29 U.S.C. §1132(g)(2), and Section 515 of ERISA, 29 U.S.C. §1145,
pursuant to which this Court is directed to award all unpaid contributions, interest,
liquidated damages up to or exceeding twenty percent (20%), reasonable attorneys’
fees, court costs, and any other fees or relief which the Court deems appropriate.

WHEREFORE, the Funds respectfully request the following relief:

(A) Order Defendant Snow Glass to pay all contributions due and
owing to the Funds and the Union;

(B) Order Defendant Snow Glass to pay interest on the delinquent
contributions as provided by 29 U.S.C. §1132(g);

(C) Order Defendant Snow Glass to pay liquidated damages as
provided by 29 U.S.C, §1132(g);

(D) Order Defendant Snow Glass to pay a penalty of 20% of the
unpaid balance pursuant to the Funds’ Collection Policy;

(E) Order Defendant Snow Glass to specifically perform all
obligations to the Funds under the CBA;

(F) Order Defendant Snow Glass to pay the Funds’ reasonable
attorneys’ fees incurred in the prosecution of this action as provided by 29 U.S.C.

§1132(g); and
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(G) Order such other and further relief as this Court may deem
equitable, just and appropriate.
COUNT TWO
Failure to Remit Dues Check-Offs

28. Plaintiffs incorporate the allegations of Paragraphs | through 27 of
this Complaint as if set forth herein in their entirety.

29. Defendant Snow Glass is signatory to, or has assented to, the CBA
with the District Council 711 and employs Union members.

30. Defendant Snow Glass failed to remit dues check-offs for the period
including, but not limited to, January 1, 2014 through March 31, 2019.

31. Defendant Snow Glass violated the CBA by failing to remit dues
check-offs and other contributions to the Plaintiff Union.

32. Payment of the dues check-off amounts have been demanded by the
Plaintiff Union, but Defendant Snow Glass has refused to submit the required
payments.

WHEREFORE, Plaintiff Union respectfully requests that this Court:

(A) Order Defendant Snow Glass to pay dues check-offs due and
owing to the Plaintiff Union; and
(B) Order such further legal, equitable or other relief as is just and

proper.
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Dated: Omar ones SL, 2020

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Respectfully submitted,
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